     Case 4:10-cr-00159-LGW-CLR Document 880 Filed 02/01/17 Page 1 of 5




                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION
AL WELCH,

      Movant,

v.                                            CV414-231
                                              CR410-159
UNITED STATES OF AMERICA,

      Respondent.


                REPORT AND RECOMMENDATION

      Petitioner Al Welch, proceeding pro se, moved under 18 U.S.C.

§ 3582(c)(2) to reduce his sentence based on Amendment 782. Doc. 832.

The Court denied his motion on the merits, noting that as a Career

Offender, nothing in Amendment 782 affected his advisory guideline

range. Doc. 833; see also Presentence Investigative Report (PSR) at

¶ 34 (calculating Welch’s offense level as 32 because he “is a career

offender within the meaning of U.S.S.G. § 4B1.1”);        United States v.

Hardiman, 646 F. App’x 852, 855 (11th Cir. 2016) (“Amendment 782

lowered the crack-cocaine base offense levels in § 2D1.1 but did nothing

to the career-offender base offense levels in § 4B1.1.”). Welch appealed,

docs. 864-69, and has asked this Court for permission to proceed with
     Case 4:10-cr-00159-LGW-CLR Document 880 Filed 02/01/17 Page 2 of 5




his appeal in forma pauperis. Doc. 872.

      An appeal cannot be taken in forma pauperis if the trial court

certifies that the appeal is not taken in good faith. 28 U.S.C.

§ 1915(a)(3); see Fed. R. App. P. 24(a)(3) (trial court may certify that

appeal of party proceeding in forma pauperis is not taken in good faith

“before or after the notice of appeal is filed”). A party does not proceed

in good faith when he seeks to advance a frivolous claim or argument.

Coppedge v. United States, 369 U.S. 438, 445 (1962); Neitzke v.

Williams, 490 U.S. 319, 327 (1989) (a claim or argument is frivolous

when it appears the factual allegations are clearly baseless or the legal

theories are indisputably meritless); Napier v. Preslicka , 314 F.3d 528,

531 (11th Cir. 2002) (an in forma pauperis action is frivolous and, thus,

not brought in good faith, if it is “without arguable merit either in law

or fact”).

      Movant appeals the denial of his motion to reduce his sentence

under § 3582 in name only: in substance, he seeks reconsideration of his

long-ago-denied 28 U.S.C. § 2255 motion.       Compare doc. 864 (arguing

the Court should not have relied on the prior convictions established by

his “Alford plea conviction” in finding him to be a Career Offender


                                     2
    Case 4:10-cr-00159-LGW-CLR Document 880 Filed 02/01/17 Page 3 of 5




under the Sentencing Guidelines),       with doc. 783 at 4-6 (arguing

ineffective assistance of counsel for failure to challenge the use of an

“Alford plea conviction” to enhance his sentence). Indeed, he does not

even mention Amendment 782 in his appeal, not that it would provide

succor here. Doc. 864; see PSR at ¶ 34 (imposing career offender

enhancement under U.S.S.G. § 4B1.1); Hardiman, 646 F. App’x at 855

(“Because [he] was found to be a career offender and sentenced under

§ 4B1.1, Amendment 782 did not have the effect of lowering the

guideline range upon which his sentence was based.”).

     The Eleventh Circuit has already affirmed the Court’s judgment

denying Welch’s § 2255 motion. See docs. 807 (denying his motions for

a Certificate of Appealability and leave to proceed in forma pauperis),

825 (denying his motion for reconsideration). And it has not authorized

any successive attempt to re-litigate his § 2255 motion pursuant to

28 U.S.C. § 2244(b)(3)(A) .   United States v. Welch , 11th Cir. No. 14-

15648. See Farris v. United States , 333 F.3d 1211, 1216 (11th Cir. 2003)

(absent such authorization, this Court lacks jurisdiction to consider any

successive § 2255 motion).




                                    3
    Case 4:10-cr-00159-LGW-CLR Document 880 Filed 02/01/17 Page 4 of 5




     The Court thus recommends that Welch’s de facto § 2255 motion,

masquerading as a Notice of Appeal, be denied and no Certificate of

Appealability be issued. There are no non-frivolous issues to raise on

appeal, and an appeal would not be taken in good faith. 28 U.S.C.

§ 1915(a)(3).   See Neitzke, 490 U.S. at 327; Napier, 314 F.3d at 531.

Thus, the Court should DENY movant’s application for in forma

pauperis status on appeal.

     This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this Court’s Local Rule 72.3. Within 14 days of

service, any party may file written objections to this R&R with the

Court and serve a copy on all parties. The document should be

captioned “Objections to Magistrate Judge’s Report and

Recommendations.” Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

     After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge’s findings and


                                    4
    Case 4:10-cr-00159-LGW-CLR Document 880 Filed 02/01/17 Page 5 of 5




recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. V.A. Leasing Corp. ,

648 F. App’x 787, 790 (11th Cir. 2016); Mitchell v. U.S. , 612 F. App’x

542, 545 (11th Cir. 2015).

     SO REPORTED AND RECOMMENDED, this 1st day of

February, 2017.

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                                         UNITED STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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